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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
PASQUALE T. DEON, SR., and              :   Civil No. 1:17-cv-1454
MAGGIE HARDY MAGERKO,                   :
                                        :
                    Plaintiffs,         :
                                        :
             v.                         :
                                        :
DAVID M. BARASCH, KEVIN F.              :
O’TOOLE, RICHARD G. JEWELL, :
SEAN LOGAN, KATHY M.                    :
MANDERINO, MERRITT C.                   :
REITZEL, WILLIAM H. RYAN, JR., :
and DANTE SANTONI JR., Members :
of the Pennsylvania Gaming Control :
Board, in their official capacities;    :
PAUL MAURO, Director of the             :
Pennsylvania Gaming Control Board’s :
Bureau of Investigation and             :
Enforcement, in his official capacity; :
CYRUS PITRE, Director of the            :
Pennsylvania Gaming Control Board’s :
Office of Enforcement Counsel, in his :
official capacity; and JOSH             :
SHAPIRO, Attorney General of            :
Pennsylvania, in his official capacity, :
                                        :
                    Defendants.         :   Judge Sylvia H. Rambo

                                  ORDER
      In accordance with the accompanying memorandum of law, IT IS
HEREBY ORDERED that Defendants’ motion for a stay pending appeal (Doc.
69) is DENIED.


                                              s/Sylvia H. Rambo
                                              SYLVIA H. RAMBO
                                              United States District Judge

Dated: December 12, 2018
